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                       EXHIBIT E
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From: Student Organization Help & Information <CSIL-Student-Org@uiowa.edu>
Date: Tue, Jun 12, 2018 at 1:07 PM
Subject: RE: InterVarsity Graduate Christian Fellowship Governing Documents
To: "Schrock, Katrina N" <                @uiowa.edu>, Student Organization Help & Information <CSIL-
Student-Org@uiowa.edu>, "King, Laurynn L" <laurynn-king@uiowa.edu>
Cc: "                    "<                  @uiowa.edu>, "          "<       @uiowa.edu>, "
        "<              @uiowa.edu>, "kkummer50@                " <kkummer50@            >


HI Katrina,

I would say go ahead and discuss that with the rest of your leadership and I’ll discuss it with our
university attorney to make sure they are on board. I don’t want to tell you something that is incorrect.

Best,

Andy

From: Schrock, Katrina N
Sent: Tuesday, June 12, 2018 11:25 AM
To: Student Organization Help & Information <CSIL-Student-Org@uiowa.edu>; King, Laurynn L <laurynn-
king@uiowa.edu>
Cc:                      <                 @uiowa.edu>;            <      @uiowa.edu>;
         <             @uiowa.edu>; kkummer50@
Subject: RE: InterVarsity Graduate Christian Fellowship Governing Documents

Andy,

 Thank you for your clarification! Obviously, I will need to discuss any changes with the rest of the
leadership team, but I do have a question. Would changing the language of the constitution from “must
subscribe…” to something like “are requested to subscribe…” or “are strongly encouraged to
subscribe…” make it so that the constitution is no longer contradictory? Again, I will need to discuss
changes, but your input on this matter is greatly appreciated.

Thank you,

Katrina



From: Student Organization Help & Information
Sent: Tuesday, June 12, 2018 11:19 AM
To: Schrock, Katrina N <              @uiowa.edu>; Student Organization Help & Information <CSIL-
Student-Org@uiowa.edu>; King, Laurynn L <laurynn-king@uiowa.edu>
Cc:                     <               @uiowa.edu>;           <        @uiowa.edu>;
        Case 3:18-cv-00080-RP-SBJ Document 1-5 Filed 08/06/18 Page 3 of 8



         <             @uiowa.edu>; kkummer50@
Subject: RE: InterVarsity Graduate Christian Fellowship Governing Documents

Katrina,

 I recognize the wish to have leadership requirements based on Christian beliefs, however Registered
Student Organizations are considered University of Iowa programs and thus must follow the Human
Rights Clause in its entirety. Having a restriction on leadership related to religious beliefs is contradictory
to that clause.

I’m happy to chat further about this and provide any information I can.

Best,

Andy

 Andy Kutcher, M.Ed.                                                     <image001.jpg>145 Iowa Memorial
 he, him, his                                                            Union
                                                                         Iowa City, Iowa 52242-1317
 Coordinator for Student Organization Devleopment                        319-335-3059 Fax 319-353-2245
 Center for Student Involvement & Leadership                             getinvolved@uiowa.edu
 andrew-kutcher@uiowa.edu
 http://csil.uiowa.edu

 Adaptability | Harmony |Positivity | Consistency | Arranger


Schedule an appointment with me




From: Schrock, Katrina N
Sent: Tuesday, June 12, 2018 11:02 AM
To: Student Organization Help & Information <CSIL-Student-Org@uiowa.edu>; King, Laurynn L <laurynn-
king@uiowa.edu>
Cc:                      <                 @uiowa.edu>;            <      @uiowa.edu>;
         <             @uiowa.edu>; kkummer50@
Subject: RE: InterVarsity Graduate Christian Fellowship Governing Documents



Andy,

I would guess that the issues you see involve potential contradictions to the part of the Human Rights
Clause that states: “In no aspect of its programs shall there be any difference in the treatment of
persons…”. From my reading, the language of the constitution does not contradict the later part of the
Clause, which states: “…equal access to membership, programming, facilities, and benefits shall be open
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to all persons”. Membership, events, and other facets of the group are not restricted – the only
restriction is specifically for leadership positions.

 While I understand that this leadership restriction can be construed as a difference in
treatment, it is also important to have Christian leadership in a Christian organization. We do
not in any way discourage those who may not subscribe to the basis of faith in Article II from
participating in IVGCF as members, but we do recognize that having Christian leadership is
important to the fulfillment of our purpose.

The above are my thoughts, but I am open to having further dialogue on the matter.

Katrina


From: Student Organization Help & Information
Sent: Tuesday, June 12, 2018 10:43 AM
To: Schrock, Katrina N <               @uiowa.edu>; Student Organization Help & Information <CSIL-
Student-Org@uiowa.edu>; King, Laurynn L <laurynn-king@uiowa.edu>
Cc:                      <                 @uiowa.edu>;            <      @uiowa.edu>;
         <             @uiowa.edu>; kkummer50@
Subject: RE: InterVarsity Graduate Christian Fellowship Governing Documents

Katrina,

On my initial review I see several issues. As part of compliance with the Human Rights Clause,
organizations cannot have any language deemed contradictory to that Clause. I’m seeing potential
contradictory language in Articles II, III, IV and VII. The language is directly related to the ability to
become a member or to hold leadership positions.

Please let me know your thoughts, questions or concerns. I want to make sure this is clear.

Best,

Andy



From: Schrock, Katrina N
Sent: Tuesday, June 12, 2018 10:27 AM
To: Student Organization Help & Information <CSIL-Student-Org@uiowa.edu>; King, Laurynn L <laurynn-
king@uiowa.edu>
Cc:                      <                 @uiowa.edu>;            <      @uiowa.edu>;
         <             @uiowa.edu>; kkummer50@
Subject: RE: InterVarsity Graduate Christian Fellowship Governing Documents

Andy,
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 I’ve now used the form you linked to submit the updated constitution. Please let me know if there is
anything else you need from us, and thank you for your quick reply and for checking into the
submission.

Katrina



From: Student Organization Help & Information
Sent: Tuesday, June 12, 2018 10:06 AM
To: Schrock, Katrina N <               @uiowa.edu>; King, Laurynn L <laurynn-king@uiowa.edu>
Cc:                      <                 @uiowa.edu>;            <       @uiowa.edu>;
         <             @uiowa.edu>; kkummer50@                 Student Organization Help & Information
<CSIL-Student-Org@uiowa.edu>
Subject: RE: InterVarsity Graduate Christian Fellowship Governing Documents

Hi Katrina,

 Did you use the OrgSync form (https://orgsync.com/14241/forms/311661) to submit? I’m not seeing
your submission in the form or on the InterVarsity Graduate Christian Fellowship’s OrgSync portal.

Best,

Andy



From: Schrock, Katrina N
Sent: Tuesday, June 12, 2018 9:25 AM
To: King, Laurynn L <laurynn-king@uiowa.edu>
Cc:                      <                 @uiowa.edu>;            <       @uiowa.edu>;
         <             @uiowa.edu>; kkummer50@                 Student Organization Help & Information
<CSIL-Student-Org@uiowa.edu>
Subject: RE: InterVarsity Graduate Christian Fellowship Governing Documents

Laurynn,



I was under the impression that the InterVarsity Graduate Christian Fellowship’s constitution had been
updated with the Human Rights clause, and submitted to OrgSync on either the 1st or 2nd of June. If this
is not the case, I would appreciate if you would let me know as soon as possible, so that we can make
the required changes.

Thank you,

Katrina
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From: King, Laurynn L
Sent: Tuesday, June 12, 2018 9:15 AM
To:                          <              @uiowa.edu>;                       <
           @uiowa.edu>
Cc: Schrock, Katrina N <               @uiowa.edu>;                       <
        @uiowa.edu>;             <         @uiowa.edu>;                <           @uiowa.edu>;
kkummer50@                 Student Organization Help & Information <CSIL-Student-Org@uiowa.edu>
Subject: RE: InterVarsity Graduate Christian Fellowship Governing Documents

 Thank you for your reply,      . It is important to keep your OrgSync profile updated with your new
leadership team’s contact information up-to-date, so we are able to reach out to the most current
representatives.

Enjoy your day,

Laurynn




  Laurynn King                                              <image002.jpg>
                                                            157 Iowa Memorial Union
  she, her, hers
                                                            Iowa City, Iowa 52242-1317
  Administrative Services Coordinator                       319-335-3059 Fax 319-353-2245
  Center for Student Involvement & Leadership               getinvolved@uiowa.edu
  laurynn-king@uiowa.edu
  http://csil.uiowa.edu
  Relator // Competition // Futuruistic // Woo // Belief




 From:
Sent: Tuesday, June 12, 2018 9:11 AM
To: King, Laurynn L <laurynn-king@uiowa.edu>;                        <                  @uiowa.edu>
Cc: Schrock, Katrina N <               @uiowa.edu>;                      <
        @uiowa.edu>;             <         @uiowa.edu>;                <            @uiowa.edu>;
kkummer50@
Subject: Re: InterVarsity Graduate Christian Fellowship Governing Documents

Hi Laurynn,

We forwarded the original email to the current leadership team. Both         and I are no longer
serving on the team. I believe they were working on updating this information, but I have CC'd
them on this email.
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Thanks,




Sent from my Verizon, Samsung Galaxy smartphone




-------- Original message --------

From: "King, Laurynn L" <laurynn-king@uiowa.edu>
Date: 6/12/18 8:44 AM (GMT-06:00)
To: "                         "<               @uiowa.edu>, "                                "
<                   @uiowa.edu>
Subject: InterVarsity Graduate Christian Fellowship Governing Documents


                   –

 I am following up to several communications our office has sent regarding InterVarsity Graduate
Christian Fellowship Governing Documents on campus. Our office has you listed as contacts for this
student organization.

We’ve sent a few e-mails, and also left voicemails, over the past few months regarding the need to
update the organization’s governing documents to include the University of Iowa’s Human Rights clause.
The updated document(s) are due tomorrow, June 13th or your student organization will be placed on
unregistered status.

Please let me know a status update on these documents, or if you have any questions regarding the
updates, and I can assist you.

Thank you in advance,

Laurynn




  Laurynn King                                               <image002.jpg>
                                                             157 Iowa Memorial Union
  she, her, hers
                                                             Iowa City, Iowa 52242-1317
  Administrative Services Coordinator                        319-335-3059 Fax 319-353-2245
  Center for Student Involvement & Leadership                getinvolved@uiowa.edu
  laurynn-king@uiowa.edu
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  http://csil.uiowa.edu
  Relator // Competition // Futuruistic // Woo // Belief




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